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 7                               IN THE UNITED STATES DISTRICT COURT

 8                                  EASTERN DISTRICT OF CALIFORNIA

 9
     UNITED STATES OF AMERICA,                          CASE NO. 2:17-CR-00210 TLN
10
                                  Plaintiff,            ORDER SEALING DOCUMENTS
11
                            v.
12
     JAGPAL SINGH,
13
                                 Defendant.
14

15

16          Pursuant to Local Rule 141(b) and based upon the representation contained in the Government’s
17 Request to Seal, IT IS HEREBY ORDERED that the Government’s two-page memorandum pertaining

18 to Defendant Jagpal Singh and the Government’s Request to Seal shall be SEALED until further order

19 of this Court.

20          It is further ordered that access to the sealed documents shall be limited to the Government and
21 counsel for Defendant.

22          The Court has considered the factors set forth in Oregonian Publishing Co. v. U.S. District Court
23 for the District of Oregon, 920 F.2d 1462 (9th Cir. 1990). The Court finds that, for the reasons stated in

24 the Government’s request, sealing the Government’s motion serves a compelling interest. The Court

25 further finds that, in the absence of closure, the compelling interests identified by the Government would

26 be harmed.
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              Case 2:17-cr-00210-TLN Document 99 Filed 12/06/19 Page 2 of 2

 1         In light of the public filing of its request to seal, the Court further finds that there are no

 2 additional alternatives to sealing the Government’s motion that would adequately protect the compelling

 3 interests identified by the Government.

 4 Dated: December 5, 2019

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 8                                     Troy L. Nunley
                                       United States District Judge
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